           Case 2:20-cr-00085-TOR             ECF No. 24        filed 10/16/20      PageID.46 Page 1 of 2
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(3/15)

                                                                                                           FILED IN THE
                               UNITED STATES DISTRICT COURT                                            U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON


                                                              for                                 Oct 16, 2020
                                            Eastern District of Washington                            SEAN F. MCAVOY, CLERK




 U.S.A. vs.                   Munn, Jacob Arthur                          Docket No.            2:20CR00085-TOR-1


                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct of defendant
Jacob Arthur Munn, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 28th day of July 2020, under the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Additional Condition #14: Defendant shall remain in the Eastern District of Washington while the case is pending. By
timely motion clearly stating whether opposing counsel and Pretrial Services object to the request, Defendant may be
permitted to travel outside this geographical area.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Jacob Arthur Munn allegedly violated his conditions of pretrial release supervision by being cited for failure
to provide proof of vehicle insurance to the Kootenai County (Idaho) Sheriff's Office on October 4, 2020.

On August 4, 2020, the undersigned officer reviewed the conditions of pretrial supervision with Mr. Munn. Mr. Munn
acknowledged an understanding of the conditions, which included standard condition number 1.

On October 4, 2020, the Kootenai County Sheriff's Office contacted the undersigned officer through electronic mail (email)
advising Mr. Munn had been involved in a traffic stop with a Kootenai County Sheriff's deputy. The email indicated Mr.
Munn had been cited for driving on a suspended license and was released at the scene.

Subsequently, the Kootenai County Sheriff's Office provided the undersigned officer with a copy of the traffic citation. The
citation noted Mr. Munn had been cited for failure to provide proof of insurance. It should be noted that available records
indicate Mr. Munn was not cited for driving with a suspended licence, as initially reported by the Kootenai County Sheriff's
Office.

Available court records indicate a citation was filed for failure to provide vehicle insurance in Kootenai County Magistrate
Court, case number CR28-20-16038.

On October 13, 2020, Mr. Munn was found guilty of this traffic infraction and paid a $131.56 fine.

Violation #2: Jacob Arthur Munn allegedly violated his conditions of pretrial supervision by traveling to the District of
Idaho, on October 4, 2020, without prior authorization from the Court.

On August 4, 2020, the undersigned officer reviewed the conditions of pretrial supervision with Mr. Munn. Mr. Munn
acknowledged an understanding of the conditions, which included additional condition number 14.
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   Re: Munn, Jacob Arthur
   October 16, 2020
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As noted in violation number 1, on October 4, 2020, Mr. Munn was cited for failure to provide vehicle insurance in Kootenai
County, Idaho. Mr. Munn had not received permission from the Court to travel outside of the Eastern District of Washington.

On October 5, 2020, the undersigned officer confronted Mr. Munn about his travel to the State of Idaho, without obtaining
permission from the Court. Mr. Munn advised he traveled to Idaho to purchase cigarettes. Subsequently, the undersigned
officer reminded Mr. Munn that he is required to remain in the Eastern District of Washington, unless he is granted
permission from the Court.

                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       October 16, 2020
                                                                 by       s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer


THE COURT ORDERS

[ X]      No Action
[ ]       The Issuance of a Warrant
[ ]       The Issuance of a Summons
[ ]       The incorporation of the violation(s) contained in this
           petition with the other violations pending before the
           Court.
[ ]       Defendant to appear before the Judge assigned to the
          case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                          Signature of Judicial Officer
                                                                            10/16/2020

                                                                          Date
